                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                          CEDAR RAPIDS DIVISION

 UNITED STATES OF AMERICA,
               Plaintiff,                               No. 11-CR-46-LRR


 vs.                                                          ORDER
 SAMUEL B. FORD,
               Defendant.



        The matters before the court are Defendant Samuel B. Ford’s pro se Motion for
Reduced Sentence pursuant to the First Step Act (“Motion”) (docket no. 238), which was
filed on February 25, 2019; 1 pro se Motion to Appoint Counsel (docket no. 239), which
was also filed on February 25, 2019; and pro se Motion to Clarify (docket no. 241),
which was filed on November 12, 2019.
        Congress enacted the First Step Act (“FSA”) on December 21, 2018. The statute
was part of a compressive criminal justice reform package and makes numerous changes
to the criminal code. However, the only aspect which applies retroactively is Section
404, which makes the “Fair Sentencing Act of 2010” applicable to any eligible defendant
sentenced prior to that code section taking effect, August 3, 2010. See United States v.
Montgomery, Case No. 17-CR-6005-FPG, 2019 WL 6114778, at *1 (W.D.N.Y. Nov.
18, 2019) (“Section 404 only applies to defendants who were convicted of certain offenses
committed before August 3, 2010”); see also United States v. Francis, No. 5:01-CR-94-
BO, 2019 WL 5842800, at *2 (E.D.N.C. Nov. 6, 2019) (“[I]f a defendant committed a


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       The First Step Act of 2018 was enacted on December 21, 2018. Pub. L. No.
115-391, 132 Stat. 5194.



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crack cocaine offense prior to August 3, 2010, the statutory penalties for which were
modified by the Fair Sentencing Act, and that defendant did not already receive the
benefit of the Fair Sentencing Act or have a prior motion under § 404 of the First Step
Act denied on the merits, the defendant is facially eligible for a reduced sentence”);
United States v. Matthews, No. CR 15-00636 HG, 2019 WL 1246184, at *2 (D. Haw.
Mar. 18, 2019) (providing that “[t]here are a number of reforms in the First Step Act,
but Section 404 is the only provision that applies retroactively to defendants who have
already been sentenced”).
      On April 11, 2011, a grand jury returned a two-count Superseding Indictment
(docket no. 11), charging Defendant with distribution of heroin within 1,000 feet of a
school in violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(C), 851 and 860(a) (Count I);
and distribution of crack cocaine and heroin in violation of 21 U.S.C. §§ 841(a)(1),
841(b)(1)(C) and 851 (Count II). See Superseding Indictment at 1-2. On August 12,
2011, a jury found Defendant guilty of Counts I and II of the Superseding Indictment.
See Jury Verdict (docket no. 131). On October 17, 2014, the court sentenced Defendant
to life imprisonment on Count I of the Superseding Indictment and 360 months’
imprisonment on Count II of the Superseding Indictment, to run concurrently. See
Amended Judgment (docket no. 212).
      As noted above, the only retroactive portion of the FSA applies to defendants who
were sentenced prior to the enactment of the Fair Sentencing Act of 2010. Defendant
was sentenced in October of 2014, long after the Fair Sentencing Act of 2010 took effect. 2
Therefore, the retroactive portion of the FSA does not apply to Defendant. See Francis,



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         Defendant was initially sentenced on December 5, 2011. See Judgment (docket
no. 151). However, after a lengthy appeals process, Defendant was resentenced on
October 16, 2014. See October 16, 2014 Minute Entry (docket no. 211). Thus, even if
Defendant’s initial sentence was considered, Defendant would still be ineligible for relief
under the FSA, as he was still sentenced after the Fair Sentencing Act of 2010 took effect.
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2019 WL 5842800, at *2 (finding the defendant “facially ineligible for relief under
Section 404 of the First Step Act” because the defendant “was not sentenced until after
[its] passage, and thus received the benefit of the new statutory sentencing range”).
Additionally, defendant was sentenced well prior the enactment of the FSA on December
21, 2018. Because the court sentenced him prior to the enactment of the FSA, he did not
qualify to be sentenced under the provisions of the FSA. Thus, the court can find no
provision under the FSA for which Defendant would be entitled to relief. Accordingly,
the Motion (docket no. 238) is DENIED. Furthermore, Defendant’s Motion to Appoint
Counsel (docket no. 239) and Motion to Clarify (docket no. 241) are DENIED as moot.
      IT IS SO ORDERED:
      DATED this 25th day of November, 2019.




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